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     Daniel McGough, Pro Se
     PO BOX 970081
     Ypsilanti, MI 48197



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN



     Daniel McGough,                                  Case No.: [24-12580]
                      PlaintiJ,
     vs.
     Lincoln Consolidated Schools,                    PLAINTIFF’S OBJECTION
     Cassandra Coker,                                 TO DEFENDANTS’ DEFENSES
     Paula Robinette,
     Pam Flucks,
                    Defendants.
         _________________________________




               PLAINTIFF’S OBJECTION TO DEFENDANTS’ AFFIRMATIVE DEFENSES

Plainti/, Daniel McGough, respectfully submits this objection to the a/irmative defenses raised by

Defendants, speciﬁcally their invocation of governmental immunity. Plainti/ asserts that

Defendants’ actions constitute clear violations of his constitutional rights under the Fourteenth

Amendment and are not shielded by governmental immunity.


I.      OBJECTION TO DEFENSE BASED ON GOVERNMENTAL IMMUNITY

        Defendants claim they are shielded by governmental immunity for actions taken within

     their o/icial capacities. However, this defense fails for the following reasons:

            A. Governmental Immunity Does Not Shield Constitutional Violations

     Under federal law, governmental immunity does not protect public o/icials or entities when

     their actions violate clearly established constitutional rights. Speciﬁcally, 42 U.S.C. § 1983
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provides a cause of action against individuals or entities acting under color of state law who

deprive others of constitutional rights. Legal Precedent:

1. Owen v. City of Independence, 445 U.S. 622 (1980): The Supreme Court held that

   municipalities and local government entities are not entitled to immunity from liability

   under § 1983 for unconstitutional actions. This precedent is directly relevant as it

   demonstrates that Defendants’ actions in denying Plainti/ access to his child were not

   shielded by governmental immunity.

2. Harlow v. Fitzgerald, 457 U.S. 800 (1982): Government oJicials are not entitled to qualiﬁed

   immunity if their conduct violates clearly established statutory or constitutional rights of

   which a reasonable person would have known. Any reasonable school oJicial would

   understand that denying a biological parent access to their child constitutes a due process

   violation. Given that it was the child’s third year at Brick Elementary and the plaintiJ has

   been an actively involved parent—indeed, the very reason his child attends this school—

   Defendants’ actions in denying PlaintiJ access are especially indefensible.

3. Violation of Constitutional Rights

       •   Core Principle: actions infringed upon Plainti/’s fundamental right to the care,

   custody, and control of his child, as guaranteed by the Fourteenth Amendment.

       •   Well-Established Law: These parental rights are ﬁrmly established in constitutional

   jurisprudence, placing an obligation on public o/icials to respect them.

4. Failure to Exercise Reasonable Care

       •   Access to Custody Order: Despite having access to Plainti/’s parenting time and

   custody order, Defendants still imposed unwarranted restrictions on his parental rights.
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       •   Absence of Restrictive Language: A review of the custody order reveals no

   language that limits Plainti/’s access to his child while at school, making Defendants’

   actions baseless and overreaching.

5. Lack of Notice or Justiﬁcation

   •       Surprise Element: Defendants imposed restrictions on Plainti/’s access without

providing any prior notice or rationale, which deprived him of the opportunity to contest or

address these actions.

           o   Negligence or Overreach: This indicates either a failure to exercise reasonable

               care or a deliberate disregard for Plainti/’s constitutional rights.

           o   Defendants compounded their overreach by contacting the child’s other parent,

               who expressed no objection to Plainti/ picking up the child. This

               acknowledgment by the other parent further highlights the baseless and

               arbitrary nature of the school’s actions. Basic principles of fairness and due

               process dictate that the school’s duty was to respect Plainti/’s clear parental

               rights protected under the Fourteenth Amendment. Defendants’ disregard for

               these principles demonstrates a blatant violation of Plainti/’s constitutional

               rights.

       B. Acts Outside the Scope of Legal Authority Are Not Protected

           Governmental immunity does not apply to actions taken outside the scope of lawful

   authority. The school’s refusal to allow Plainti/ to sign out his child, despite his history of

   being an involved and proactive parent, was an overreach beyond any reasonable
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         interpretation of their authority. The school acted without proper legal justiﬁcation or a

         valid court order restricting Plainti/’s rights. Legal Precedent:

                    1. Scheuer v. Rhodes, 416 U.S. 232 (1974): O/icials performing discretionary

            functions are not immune if their actions exceed the scope of their legal authority.

                    2. Doe v. Claiborne County, 103 F.3d 495 (6th Cir. 1996): A school district can be

            held liable for constitutional violations when policies or practices infringe upon a

            parent’s custodial rights. If the school’s actions were beyond its legal authority—such

            as denying a biological parent access to their child without a valid court order—those

            acts are not protected by governmental immunity. The school’s reliance on “maternal

            authorization” was arbitrary and discriminatory, disregarding Plainti/’s demonstrated

            active involvement and clear custodial rights.

II.      RELIEF REQUESTED


Plainti/ respectfully requests that the Court:


1. Deny Defendants’ Defense based on governmental immunity.
2. Declare that Defendants’ actions constitute violations of Plainti/’s constitutional rights under
      the Fourteenth Amendment.
3. Grant Plainti/ leave to proceed with discovery to further substantiate these claims.
4. Grant such other and further relief as the Court deems just and equitable under the
      circumstances.

Daniel McGough, Pro Se
P.O. Box 970081
Ypsilanti, MI 48197
Email: dryan616@icloud.com
Dated: December 11, 2024
Signature: /s/ Daniel McGough
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                               Certiﬁcate of Service

      I hereby certify that on this date, a copy of this Objection was served upon
  Michael Weaver, Defendants attorney, via email at MWeaver@plunkettcooney.com,
                    in compliance with MCR 6.104 and MCR 2.107.
                                      Date: 12-11-2024
                                    /s/ Daniel McGough
                                     Defendant, Pro Se
